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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
Maryland Chapter of the Sierra Club et al.
                                                        *
      Plaintiff,
                                                        *
      v.                                                                 Case No. 22-cv-2597
Federal Highway Administration et al.
                                                        *

      Defendant.                                        *

                                   ENTRY OF APPEARANCE IN A CIVIL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:
                                                                       Md. Chapter of the Sierra Club, Friends of Moses Hall, Nat'l Trust for Historic Preservation & NRDC

             Enter my appearance as counsel in this case for the _______________________________

             I certify that I am admitted to practice in this Court.

December 21, 2022                                            Jared Knicley                                      Digitally signed by Jared Knicley
                                                                                                                Date: 2022.12.21 09:22:51 -05'00'

Date                                                        Signature
                                                             Jared E. Knicley (No. 18607)
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EntryofAppearanceCivil (08/2015)
